Case 2:01-mc-00021-KSH Document 67 Filed 06/18/18 Page 1 of 4 PagelD: 194

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February 9, 2001
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VIA UPS NEXT DAY OVERNIGHT

ty i a
Mr. Walt Towers / ))5C | yea}

Office of the Clerk
United States District Court [ K 5 ¥)
District of New Jersey :

50 Walnut Street
Newark, New Jersey 07101

Re: Cityscape Corp. v. Walsh Securities Corp., United States District
Court, Southern District of New York, Docket No. 98 Cy. 0223 (SHS)

Dear Mr. Towers:

As we discussed, enclosed is a Certification of Judgment for Registration in Another District and
a certified copy of the Judgment in this matter for filing in the District of New Jersey. I have provided a
check for $30.00 to cover the registration fee. I have also enclosed an office copy of the Certification and
Judgment for "file stamping". Please return this copy to me in the self-addressed stamped envelope
provided. |

If you have any questions regarding this filing, please do not hesitate to call me. Thank you.

erely,

ASA/asa
Enclosures

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UNITED STATES DiSTRICT COURT |
- SOUTHERN DISTRICT OF NEW YORK

x
CITYSCAPE CORP.,
Plaintiff, C
-against-
WALSH SECURITIES CORP.,
Defendants. N
xX

8/18 Page 2 of 4 PagelD: Ay EE i)
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AT8:30_
98 CIVIL 0223 sa) AMT. WALSH

ERTIFICATION OF JUDGMENT
FOR REGISTRATION IN
ANOTHER DISTRICT
JUDGMENT #01,0012

+ Mae # Ol- 21 GE

I, JAMES M. PARKISON , Clerk of this United States District Court certify that the attached

is a true and correct copy of the original judgment entered in t
in the records of this court, and that * no notice of appeal from

motions of the kinds listed in Rule 4(a) of the Federal Rules

his action on J. h. 4, 2001 as it appears
) this judgment has been filed, and any

of Civil Procedure.

|
IN TESTIMONY WHEREOF, I sign my name and affix the seal of this Court on

February 5, 2001.

deputy Clerk

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4 PagelD: 196
Case 2:01-mc-00021-KSH Document 67 Filed 06/18/18 Page 3 of 4 Pagel

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O(enrree STATES DISTRICT COURT

| SOUTHERN DISTRICT OF NEW YORK

CITYSCAPE CORP’, ,

Plagnritt, 98 Civ. 223 (SHS)

We JUDGMENT AND ORDER

r

WALSH SECURITIES CORP.,

Defendant.

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ENTIFIED
thew F i i fé rt hex k

JAMES M. PARKISON |
SIDNEY H. STEIN, U.S. District Judge. tks KMMo>

FLaInNtL EE Cityscape Corp.

csc o> 8 Boe we or pee os 6 CO

("Cityscape") having moved

See

Li's Court on October 22, 1999 for partial |summary judgment on

“itvscape's breach of contract claim against defendant Walsh

Securities Corp., (“Walsh") for 32 loans (the "New Jersey

Loans") and

~1200 PM

fact and conclusions of law in Opinions dated June 8, 2000, and

October 20, 2000:

) WHEREAS, this Court's Order dated June 8, 2000 granted

Cityscape partial summary judgment on Cityscape's claims

<elating to the 32 New Jersey Loans;

JAN © 4 2001

WHEREAS, this Court's Order dated October 20, 2000

denied Walsh's Claim for an offset of Cityscape's damages;
Cage-2-O1emc.00021-KSH_ Documen 6
QauaeeS jai,

t67- Filed 06/18/18 made 4 of 4 PagelD: 197

WHEREAS, this Court's Order dated |October 20, 2000

determined that Cityscape's damages were $4,|/732,568.93;

IT IS HEARBY ORDERED AND ADJUDGED fas follows:

l. Cityscape is granted partial summary judgment on

its claim for breach of contract for the 32 New Jersey, Loans;

2. Cityscape's motion for an order awarding damages

for the 32 New Jersey Loans is granted;

3. Cityscape is awarded damages j

$4,732,568.93;

4, Walsh is granted Summary judgm
to dismiss Cityscape's claims relating to the

Loans;

5. Walsh's counterclaims are dism

Dated: New York, New York

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—_—

SO ORDERED

n the amount of

ent on its motions

Appraisal Variance

issed.

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THIS DOCUMENT WAS ENTERED
GM PER DeOETON__/— Y—J /

Stein, U.S.D.J.

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